Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Collaspe Impossible Inc.,

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  PO Box 94744
                                  Seattle, WA 98124
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  King                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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                    Case 19-11651-TWD                   Doc 1    Filed 05/01/19            Ent. 05/01/19 22:06:59                Pg. 1 of 8
Debtor    Collaspe Impossible Inc.,                                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                     Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                     are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                     business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                     statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                     procedure in 11 U.S.C. § 1116(1)(B).
                                                                     A plan is being filed with this petition.
                                                                     Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                     accordance with 11 U.S.C. § 1126(b).
                                                                     The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                     Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                     attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                     (Official Form 201A) with this form.
                                                                     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a                           Western District of
     separate list.                               District    Washington                      When      12/11/13                    Case number   13-20727
                                                              Western District of
                                                  District    Washington                      When      12/13/12                    Case number   12-22338

10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                        Relationship
                                                  District                                    When                              Case number, if known



Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
                  Case 19-11651-TWD                          Doc 1      Filed 05/01/19              Ent. 05/01/19 22:06:59                     Pg. 2 of 8
Debtor   Collaspe Impossible Inc.,                                                                 Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                Case 19-11651-TWD                      Doc 1       Filed 05/01/19             Ent. 05/01/19 22:06:59                  Pg. 3 of 8
Debtor    Collaspe Impossible Inc.,                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 1, 2019
                                                  MM / DD / YYYY


                             X   /s/ Dirk M Mayberry                                                      Dirk M Mayberry
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Jason E Anderson                                                      Date May 1, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jason E Anderson
                                 Printed name

                                 Emerald City Law Firm PC
                                 Firm name

                                 5355 Tallman Ave NW Ste 207
                                 Seattle, WA 98107
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     206-706-2882                  Email address      jason@jasonandersonlaw.com

                                 32232 WA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                 Case 19-11651-TWD                   Doc 1          Filed 05/01/19           Ent. 05/01/19 22:06:59                 Pg. 4 of 8
 Fill in this information to identify the case:
 Debtor name Collaspe Impossible Inc.,
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                          Check if this is an
                                                WASHINGTON
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Internal Revenue                                               Estimated                                                                                                 $15,000.00
 Service
 Centralized
 Insolvency Operati
 PO Box 7346
 Philadelphia, PA
 19101-7346
 Miles Stanberry                                                Return of deposit                                                                                             $500.00
 4200 Rainier Ave Ste
 5
 Seattle, WA 98118
 Nazila                                                         Architecture            Disputed                                                                          $12,000.00
 Akhshangfard                                                   services
 12402 Admiralty
 Way
 Everett, WA 98204
 Pierce County                                                                                                                                                              $3,500.00
 Sewer
 9850 64th St W Unit
 F301
 University Place,
 WA 98467-1078
 Samual Challea                                                                                                                                                               $200.00
 1035(B) Woodlawn
 Ave
 Everett, WA 98203




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                        DIRK MAYBERRY
                        PO BOX 94744
                        SEATTLE, WA 98124


                        ESTATE OF LOUISE WELLS
                        CO/ DANIEL EHRLICH
                        EVERETT, WA 98201


                        INTERNAL REVENUE SERVICE
                        CENTRALIZED INSOLVENCY OPERATI
                        PO BOX 7346
                        PHILADELPHIA, PA 19101-7346


                        JASON R WHITISH
                        901 BATHKE AVE
                        ENUMCLAW, WA 98022


                        KING COUNTY TREASURER
                        500 FOURTH AVE STE 600
                        SEATTLE, WA 98104


                        MEDAXIS SOLUTIONS LLC
                        PO BOX 705
                        BELLEVUE, WA 98004


                        MILES STANBERRY
                        4200 RAINIER AVE STE 5
                        SEATTLE, WA 98118


                        NAZILA AKHSHANGFARD
                        12402 ADMIRALTY WAY
                        EVERETT, WA 98204


                        PIERCE COUNTY SEWER
                        9850 64TH ST W UNIT F301
                        UNIVERSITY PLACE, WA 98467-1078


                        PIERCE COUNTY TREASURER
                        2401 S 35TH ST
                        TACOMA, WA 98409


                        SAMUAL CHALLEA
                        1035(B) WOODLAWN AVE
                        EVERETT, WA 98203




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                    START CORPORATION OF AMERICA
                    PO BOX 94744
                    SEATTLE, WA 98124


                    TOD HAWKINS
                    3955 S EDDY
                    SEATTLE, WA 98118


                    ZANDT PROPERTIES INC
                    5963 RAINIER AVE S
                    SEATTLE, WA 98118




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                                                               United States Bankruptcy Court
                                                                     Western District of Washington
 In re      Collaspe Impossible Inc.,                                                                      Case No.
                                                                                   Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Collaspe Impossible Inc., in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 May 1, 2019                                                           /s/ Jason E Anderson
 Date                                                                  Jason E Anderson
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Collaspe Impossible Inc.,
                                                                       Emerald City Law Firm PC
                                                                       5355 Tallman Ave NW Ste 207
                                                                       Seattle, WA 98107
                                                                       206-706-2882 Fax:206-260-1316
                                                                       jason@jasonandersonlaw.com




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